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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:05CR179
                                               )
              Plaintiff,                       )
                                               )                    ORDER
              vs.                              )
                                               )
RUSSELL B. PAPROSKI,                           )
                                               )
              Defendant.                       )

       This matter is before the Court on the Defendant’s motion to extend the deadline

in ¶ 2 of the Order on Sentencing Schedule. The Defendant asks for 10 additional days

to file objections to the PSR.

       IT IS ORDERED:

       1.     The Defendant’s motion to extend the deadline in ¶ 2 of the Order on

              Sentencing Schedule is granted; and

       2.     The Defendant’s objections to the PSR must be filed on or before February

              2, 2006.



       DATED this 27th day of January, 2006.


                                                   BY THE COURT:

                                                   s/Laurie Smith Camp
                                                   United States District Judge
